           Case 1:19-cv-03821-VEC Document 45 Filed 11/06/20         USDCPage 1 of 1
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                                                                     DOC #:
UNITED STATES DISTRICT COURT                                         DATE FILED: 11/06/2020
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
MAIE IBRAHIM,                                                  :
                                             Plaintiff,        :
                                                               : 19-CV-3821 (VEC)
                           -against-                           :
                                                               :     ORDER
                                                               :
FIDELITY BROKERAGE SERVICES LLC,                               :
                                                               :
                                             Defendant.        :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS the parties appeared for a status conference on November 6, 2020;

       IT IS HEREBY ORDERED that any Motion for Summary Judgement must be filed by

no later than Friday, February 5, 2021. A response in opposition to the Motion is due no later

than Friday, March 5, 2021. A reply in support of the Motion is due no later than Friday,

March 19, 2021. The parties will be referred to their assigned Magistrate Judge for a settlement

conference in a separate order.



SO ORDERED.
                                                        ________________________
Date: November 6, 2020                                     VALERIE CAPRONI
      New York, New York                                 United States District Judge




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